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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

Robert Bruce, Bryan Slaton, and Grayson
County Conservatives PAC,

                                     Plaintiffs,

v.

J.R. Johnson, in his official capacity as
                                                         Civil Action No. 1:22-cv-1166-RP
Executive Director of the Texas Ethics
Commission; Mary K. Kennedy, Randall H.
Erben, Chad M. Craycraft, Chris Flood,
Patrick W. Mizell, Richard S. Schmidt, Joseph
O. Slovacek, and Steven D. Wolens, in their
official capacities as members of the Texas
Ethics Commission,

                                  Defendants.

                                     Agreed Final Judgment

       On this day, the Court considered the Unopposed Motion to Enter Agreed Final Judgment

filed by Plaintiffs Robert Bruce, Bryan Slaton, and Grayson County Conservatives PAC

(“Plaintiffs”). Defendants J.R. Johnson, in his official capacity as Executive Director of the Texas

Ethics Commission; Mary K. Kennedy, Randall H. Erben, Chad M. Craycraft, Chris Flood, Patrick

W. Mizell, Richard S. Schmidt, Joseph O. Slovacek, and Steven D. Wolens, in their official

capacities as members of the Texas Ethics Commission (“Defendants”) do not oppose the entry of

this Agreed Final Judgment. Accordingly, the Court finds that the Unopposed Motion should be,

and hereby is, in all things GRANTED. The Court hereby enters Judgment as follows:


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